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                     IN THE UNITED STATES DISTRICT COURT OF
                         THE SOUTHERN DISTRICT OF TEXAS
                               GALVESTON DIVISION

Donald Broussard                             §
                                             §
       Plaintiff                             §
                                             §
v.                                           §        C.A. NO. 3:13-cv-349
                                             §
ENI US Operating Co., Inc.                   §
                                             §
       Defendant                             §

                           PLAINTIFF’S MOTIONS IN LIMINE

       Plaintiff Donald Broussard moves the Court to order, before voir dire, that (1)

Defendant’s attorneys, and through them, any and all witnesses called for Defendant, refrain

from commenting on, mentioning, communicating, publishing, or attempting to introduce

evidence of, directly or indirectly, the matters in this Motion; and (2) Defendant’s attorneys

instruct their witnesses not to volunteer, inject, disclose, state, or mention the matters in this

Motion in the presence of the jury, unless and until specifically questioned thereon. Plaintiff

asks the Court to order that, if Defendant’s attorneys intend to offer evidence of the matters

in this Motion, they must first obtain a favorable ruling from the Court outside the presence

and hearing of all prospective jurors and the jurors ultimately selected in this civil action.

       In support of this Motion, Plaintiff shows as follows:

                                                 A.

       The matters in this motion are inadmissible for any purpose on proper and timely

objection because they are not relevant to the issue in this case or the rights of the parties.

The matters in this Motion will not have any tendency to make the existence of any material

fact more probable or less probable than it would be without the evidence. See Fed. R. Evid.
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401 and 402. Permitting interrogation of the witnesses, comments to the jurors, or offers of

evidence on the matters in this Motion is substantially outweighed by the harm to Plaintiff.

Instead, it would draw the jury’s attention to the prejudicial impact. See Fed. R. Evid. 101 &

103(c). If Defendant injects the matters in this Motion into this trial through a party, and

attorney or a witness, Defendant will cause irreparable harm to Plaintiff, which no jury

instruction would cure. If any of the matters in this Motion are brought to the attention of the

jury, directly or indirectly, Plaintiff would be forced to move for a mistrial. To avoid

prejudice and a possible mistrial, Plaintiff asks the Court to grant his Motion in Limine.


                                              B.

       The following matters are the subject of this Motion in Limine:

1)     The parties’ settlement negotiations or Plaintiff’s offers of settlement. Offers to
       compromise and statements made in comprise negotiations are inadmissible. See Fed.
       R. Evid. 408. The probative value of this evidence is substantially outweighed by the
       danger of unfair prejudice, confusion of the issues, and misleading the jury, See Fed.
       R. Evid. 408.

       ____________          ____________          _____________         _____________
       Agreed                Granted               Modified              Denied


2)     References to persons or the purported testimony of persons who have not been
       properly and timely disclosed in Defendant’s responses to Plaintiff’s written
       discovery and in Defendant’s Rule 26 disclosures. See Fed. R. Civ. P. 37; Fed. R.
       Evid 802 and 804.

       ____________          ____________          _____________         _____________
       Agreed                Granted               Modified              Denied


3)     References or attempting to introduce documents or tangible things or the contents of
       documents or tangible things that have not been properly and timely produced or
       made available to Plaintiff in Defendant’s Rule 26 disclosures or in Defendant’s
       responses to Plaintiff’s written discovery. See Fed. R. Civ. P. 37.
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       ____________          ____________          _____________          _____________
       Agreed                Granted               Modified               Denied


4)     References to experts or the purported testimony of any expert who has not been
       identified or whose status as an expert has not been disclosed to Plaintiff. See Fed. R.
       Civ. P. 37; Alldread v. City of Grenada, 988 F.2d. 1425, 1435-36 (5th Cir. 1993).

       ____________          ____________          _____________          _____________
       Agreed                Granted               Modified               Denied


5)     Expert-witness opinions that have not been disclosed to Plaintiff or are otherwise out
       the scope of the expert’s written opinion produced during pretrial discovery. See Fed.
       R. Civ. P. 37; Alldread v. City of Grenada, 988 F.2d 1425, 1435-36 (5th Cir. 1993);
       Thudium v. Allied Products Corp. 36 F.3d 797, 769-70 (8th Cir. 1994)

       ____________          ____________          _____________          _____________
       Agreed                Granted               Modified               Denied


6)     References or questioning that suggest or implies that Plaintiff or his expert
       witnesses, relatives, agents, employees, attorneys, or representatives have been
       accused of, or have been found guilty of, any crimes or criminal conduct. See Fed. R.
       Evid. 402, 403, 404, 608, and 609. U.S. v. Carter, 528 F.2d 844, 846-47 (8th Cir.
       1975).

       ____________          ____________          _____________          _____________
       Agreed                Granted               Modified               Denied


7)     The Defendant not make reference to, mention, elicit, testimony, or present evidence
       of any personal habits, character traits, and any crimes, arrests, convictions, wrongs or
       acts of Plaintiff, any witness called by Plaintiff, or Plaintiff’s family members,
       including, but not limited to, smoking, fighting, drinking alcoholic beverages,
       womanizing, prior marriages, abortions, illegitimate children, traffic violations, illegal
       drug use, drug and/or alcohol rehabilitation programs, criminal acts, criminal charges,
       criminal convictions, and swearing. There is no evidence or allegation that those
       habits, character traits, crimes, wrongs, or acts, if any, contributed in any way to the
       occurrence made the basis of this suit or are relevant to the determination of any issue
       in this suit. Furthermore, the probative value of those matters is substantially
       outweighed by the danger of unfair prejudice, confusion of the issues, and misleading
       the jury. This type of evidence would only be offered for the impermissible purpose
       of portraying Plaintiff, his witnesses, or Plaintiff’s family members as bad persons.
       See Fed. R. Evid. 404, 608(b), and 609(a).
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        ____________          ____________          _____________         _____________
        Agreed                Granted               Modified                    Denied


8)      That Defendant be prohibited from making any reference to, mentioning, eliciting
        testimony, or offering any evidence relating to Plaintiff or any of Plaintiff’s witnesses
        prior marriages or past romantic relationships. Such matters are not relevant and
        would be offered only for the impermissible purpose of portraying Plaintiff or
        Plaintiff’s witnesses as a bad person. Fed. R. Evid. 402, 403, 404, 406, and 609.

        ____________          ____________          _____________         _____________
        Agreed                Granted               Modified              Denied


9)      Any reference to the fact that Plaintiff receives any benefits from any other collateral
        source.

        ____________          ____________          _____________         _____________
        Agreed                Granted               Modified              Denied


10)     References, questioning or argument that suggest or implies that Plaintiff or his expert
        witnesses, relatives, agents, employees, attorneys, or representatives have failed to
        report income to the Internal Revenue Service or any other agency responsible for the
        assessment and collection of taxes or have not filed state or federal income tax returns
        in the past. See Fed. R. Evid. 402, 403, and 404.

        ____________          ____________          _____________         _____________
        Agreed                Granted               Modified              Denied


11)     References to or questioning about what effect the verdict or judgment in this lawsuit
        will or could have on insurance rates, premiums or charges. See Fed. R. Evid. 402
        and 403.

        ____________          ____________          _____________         _____________
        Agreed                Granted               Modified              Denied


12)     The Defendant not make reference to, mention, elicit, testimony, or present evidence
        of any prior lawsuits, claims, workers’ compensation claims, disability claims,
        unemployment claims, or any similar claims made by or on behalf of Plaintiff. There
        is no evidence or allegation that those claims, if any, contributed in any way to the
        occurrence made the basis of this suit or are relevant to the determination of any issue
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        in this suit. Furthermore, the probative value of those matters is substantially
        outweighed by the danger of unfair prejudice, confusion of the issues, and misleading
        the jury. This type of evidence would only be offered for the impermissible purpose
        of portraying Plaintiff as a bad person. See Fed. R. Evid. 404, 608(b), and 609(a).

        ____________         ____________          _____________         _____________
        Agreed               Granted               Modified              Denied


13)     References or arguments implying or suggesting to the jury that Defendant’s conduct
        must be the sole proximate cause of Plaintiff’s damages or injuries in order for
        Defendant to be liable or for Plaintiff to recover damages. This argument would be a
        misstatement of the law and only calculated to falsely and incorrectly mislead the
        jury.

        ____________         ____________          _____________         _____________
        Agreed               Granted               Modified              Denied


14)     That Defendant be prohibited from claiming or stating that the nation’s court systems
        are overloaded due to cases such as this or similar cases or references or statements
        like “there are too many lawsuits” or “too much litigation.” References of this nature
        are irrelevant and prejudicial. These matters are generally inadmissible, irrelevant
        and prejudicial to Plaintiff’s right to a fair and impartial trial. If relevant and/or
        admissible, the probation value of any such matter would be greatly outweighed by
        the danger of unfair prejudice, confusion of the issues, and/or misleading the jury.
        Fed. R. Evid. 401, 402, and 403.

        ____________         ____________          _____________         _____________
        Agreed               Granted               Modified              Denied



15)     That if the Defendant feel any area which is covered by this Motion in Limine or any
        areas which by their nature are not admissible under the Rules of Evidence or Rules
        of Civil Procedure such as privileged communications, collateral source, prior
        settlement offer, etc. or that if the Defendant feel “a door has been opened,” that they
        must, before saying or presenting or exhibiting anything in the jury’s presence
        regarding same, that they approach the bench and make inquiry side bar without the
        jury being able to hear same in a voice designed so that the jury will not hear same.
        This particular limine subpart is to be followed regardless of the time of the trial,
        including arguments.

        ____________         ____________          _____________         _____________
        Agreed               Granted               Modified              Denied
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16)     That Defendant be prohibited from making any reference to the jury that anyone can
        “pay some money and make up a lawsuit against another without any legal basis”
        trying to imply that this lawsuit is “frivolous” or “without merit.” Proper remedies
        and procedures of summary judgments, counter claims, dismissal for failing to state a
        claim upon which relief can be granted, etc. were all available to the Defendants.
        Fed. R. Evid. 402 and 403.

        ____________         ____________          _____________         _____________
        Agreed               Granted               Modified              Denied


17)     Any suggestion that Plaintiff could have participated in additional medical care or
        physical therapy by getting his lawyers or a third party case to pay for it.


        ____________         ____________          _____________         _____________
        Agreed               Granted               Modified              Denied


        WHEREFORE, PREMISES CONSIDERED, Plaintiff moves this Court to order,

before voir dire, that (1) Defendant’s attorneys and, through them, any and all witnesses

called for Defendant, refrain from commenting on, mentioning, communicating, publishing,

or attempting to introduce evidence of, directly or indirectly, the matters in this Motion,

without first obtaining a favorable ruling from the Court outside the presence and hearing of

all jurors or prospective jurors; and (2) Defendant’s attorneys instruct their witnesses not to

volunteer, inject, disclose, state, or mention the matters in this Motion in the presence of the

jury, unless and until specifically questioned thereon.
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                                         Respectfully Submitted,

                                         ARNOLD & ITKIN LLP

                                         /s/ Kurt B. Arnold
                                         _______________________________
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OF COUNSEL:

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                             CERTIFICATE OF SERVICE

        I hereby certify that on December 22, 2014, I electronically filed the foregoing
pleading with the Clerk of Court, using the CM/ECF system which will send notification of
such filing to all counsel of record.

                                         /s/ Kurt B. Arnold
                                         _______________________________________
                                         Kurt B. Arnold
